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                              MINUTES OF THE
                      SENATE COMMITTEE ON JUDICIARY

                             Seventy-sixth Session
                                March 2, 2011


The Senate Committee on Judiciary was called to order by Chair Valerie Wiener
at 8:03 a.m. on Wednesday, March 2, 2011, in Room 2149 of the Legislative
Building, Carson City, Nevada. The meeting was videoconferenced to the
Grant Sawyer State Office Building, Room 4412E, 555 East Washington
Avenue, Las Vegas, Nevada. Exhibit A is the Agenda. Exhibit B is the
Attendance Roster. All exhibits are available and on file in the Research Library
of the Legislative Counsel Bureau.

COMMITTEE MEMBERS PRESENT:

Senator Valerie Wiener, Chair
Senator Allison Copening, Vice Chair
Senator Ruben J. Kihuen
Senator Mike McGinness
Senator Don Gustavson
Senator Michael Roberson

COMMITTEE MEMBERS ABSENT:

Senator Shirley A. Breeden (Excused)

GUEST LEGISLATORS PRESENT:

Senator Joseph (Joe) P. Hardy, Clark County Senatorial District No. 12

STAFF MEMBERS PRESENT:

Linda J. Eissmann, Policy Analyst
Bradley A. Wilkinson, Counsel
Kathleen Swain, Committee Secretary

OTHERS PRESENT:

Pat Lundvall
Roger Norman
Yvonne Murphy, Tahoe Reno Industrial Center; Storey County
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Bill Bradley, Nevada Justice Association
Lora E. Myles, County Recorders
Alan H. Glover, Former Senator; Carson City Clerk/Recorder
Rocky Finseth, Nevada Land Title Association

CHAIR WIENER:
I will open the hearing on Senate Bill (S.B.) 156.

SENATE BILL 156: Limits the liability of certain persons involved with an
     off-road sporting event. (BDR 3-791)

SENATOR DON GUSTAVSON (Washoe County Senatorial District No. 2):
This bill was brought by request. People in Las Vegas and Carson City want to
testify in support of this bill.

PAT LUNDVALL:
This bill modifies chapter 41 of the Nevada Revised Statutes (NRS). Nevada
Revised Statute 41.510 says a landowner owes no duty to those who
participate in recreational activities on the premises. We proposed a bill
clarifying the duties owed by a landowner to participants and spectators of
off-road racing events. The amendment would establish the limited duty rule,
which gives more protection to participants and spectators.

Baseball parks and hockey rinks have potential hazards associated with
spectators. A foul ball or hockey puck may go into the stands. The Nevada
Supreme Court issued Turner v. Mandalay Sports Entertainment, LLC,
124 Nev. 213 (2008), which identifies a limited duty owed to stadium owners
in an effort to ensure the safety and security of spectators and participants in
baseball. The Court identified the purpose behind the limited duty rule. The
Turner case states the limited duty rule "… serves the important purpose of
limiting expensive and protracted litigation that might signal the demise or
substantial alteration of the game of baseball as a spectator sport."

Off-road racing deserves that protection so it is not subjected to expensive and
protracted litigation. Twelve jurisdictions have the limited duty rule. This bill
would bring us from no duty to limited duty. The limited duty would ensure the
safety of the sport, its participants and spectators.
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ROGER NORMAN:
I will show a video depicting off-road racing (Exhibit C, original is on file in the
Research Library). This video has run on national television for two weeks. I
want to take off-road racing to the next level.

I will read from my written testimony (Exhibit D).

Our sport is different from NASCAR because it requires a 100-mile or 600-mile
course, not a 1.5-mile course. It is more difficult than NASCAR, and that is why
this bill is needed.

SENATOR COPENING:
Have off-road races not come to Nevada because this law is not in place? Have
race officials specifically said they need immunity before they will bring races to
Nevada?

MR. NORMAN:
Not many races have occurred on private property where permanent
infrastructure could be used. That would make our sport safer. They do not
come because there is too much risk.

SENATOR COPENING:
Are you going to remove off-road races from public land and have them on
private land?

MR. NORMAN:
In many cases, they could start on private land and go onto U.S. Bureau of Land
Management (BLM) property. Nevada has many locations where everything
could be held on private property.

SENATOR GUSTAVSON:
The facilities could be built permanently on private property, and most of the
spectators would be there. The Committee is concerned about safety on the
entire raceway.

MR. NORMAN:
That is correct. It would allow the race promoters to build permanent
infrastructure so spectators could watch the races. Promoters cannot afford to
put up bleachers for 15,000 to 20,000 people each time.
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SENATOR COPENING:
How can you guarantee the promoters would actually build that infrastructure
on private land? Perhaps we need a companion bill specifying what structures
are to be built on private land to ensure safety. Is BLM reluctant to have
off-road races on its land because of the race in California where people were
killed?

MR. NORMAN:
That is one of the biggest fears. One of my teammates lost his son in that
accident. We had a fund-raiser for the families who lost loved ones. Everyone
came together and talked about it. My teammate, who lost his son, told me
what Colorado does to protect ski resorts and baseball games. If we have
something like New Zealand, people would come to Nevada from all over the
worId.

SENATOR KIHUEN:
Do other states limit the liability?

MR. NORMAN:
States across the Country have limited liability for events like baseball and
hockey.

SENATOR KIHUEN:
Have other states done this particularly for off-road racing?

MR. NORMAN:
Off-road racing started 42 years ago in Nevada. It started 43 years ago in Baja,
California. This is the location for off-road racing in the United States.

YVONNE MURPHY (Tahoe Reno Industrial Center; Storey County):
My clients support S.B. 156 and encourage passage. This legislation will
eliminate frivolous lawsuits and encourage participants of various sporting
events to play responsibly.

BILL BRADLEY (Nevada Justice Association):
We oppose S.B. 156. The Nevada Justice Association opposes immunity from
civil lawsuits. Immunity takes the decision of whether a person's conduct was
reasonable away from a judge and jury, allowing the Legislature to prejudge an
individual's case before hearing the facts. Granting immunity removes the
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incentive to act safely. Creating immunity results in less personal responsibility
and individual accountability. I disagree with Pat Lundvall. Juries should decide
negligence cases based on the facts, not prejudging cases before the facts are
heard.

I will show a video of the race in southern California (Exhibit E, original is on file
in the Research Library).

As you can see at the end of this video, the crash has occurred. One of the
racers has gone off the course. Tragically, many people were killed and many
more seriously injured.

In Mr. Norman's video, there appears to be adequate crowd control. In
Exhibit E, the crowd control is negligent. High-powered vehicles drive at speeds
in excess of 70 or 80 miles per hour along a dirt road where participants are
adjacent to the road. It is difficult to see, and there is little or no crowd control.

In negligence cases, we evaluate whether a person's conduct was reasonable
under the circumstances. Every lawyer considers that question before he files a
case. The statute I handed to you (Exhibit F) is the lawyer pays law that
requires lawyers to consider whether a person's conduct was reasonable. I am
referring to NRS 7.085, which requires lawyers to file, defend and maintain
actions in a nonfrivolous manner. If a judge determines a lawyer filed and
defended an action in a frivolous manner, that lawyer is personally responsible
to pay the fees associated with the filing of a frivolous lawsuit.

In a general negligence case, we look at the facts and speak to experts to
determine if the conduct of the person you are looking at was reasonable. If it
was unreasonable, we file a case. If a person's conduct is negligent, our law
allows that person to be sued.

There are checks and balances in the judicial system. When I file a complaint, if
opposing counsel disagrees with my position, that counsel can file a motion to
dismiss before the case gets started. The judge reviews the motion and
determines whether there are enough facts to go forward in the case.

Then, the discovery process begins. Opposing counsel is trying to discover what
my client may have done wrong. Our law has evolved to the point where we
measure the conduct of the defendant, whether it was appropriate or
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inappropriate, under the guidance of a judge. The same judge and jury evaluate
whether the spectator's conduct was reasonable under the circumstances. If
there are enough facts to go forward, the judge allows the case to continue. At
the end of discovery, a motion for summary judgment can be filed. Again, the
judge reviews the case.

If we have satisfied those checks and balances, we are allowed to try the case
in front of a jury. If a jury decides in our favor, the judge is asked if the jury
acted correctly. If the judge agrees, the verdict stands, and we go to the
Nevada Supreme Court where there is another check and balance.

The checks and balances in the judicial system are appropriate with respect to
negligence cases. To grant immunity to those who promote, organize and
charge for the opportunity to participate in these races is inappropriate.

Senator Copening's comments regarding infrastructure sound like a good idea.
The law does not prohibit a person from building the infrastructure if he can
acquire the private land. Part of that infrastructure would be appropriate crowd
control. I agree with Mr. Norman that some individuals may not pay attention
and go beyond the crowd controls. Our law recognizes that person is a
trespasser who did not have a right to be there and violated the rules
established by the promoter and organizer. Under those circumstances, a
Nevada judge or jury would find that person was disregarding the rules and is
responsible for the injury.

It is important to listen to the facts and circumstances on a case-by-case basis
and allow the judicial system to work. It protects promoters in appropriate
circumstances and holds them accountable in certain circumstances. It protects
spectators in certain circumstances and holds them accountable in certain
circumstances.

CHAIR WIENER:
I am concerned about assumption of risk. As testified earlier, under the limited
duty rule, members of the public should be held accountable if they choose to
participate. You testified promoters would be responsible to establish some of
the rules and parameters for participating in the event. People would assume the
risk if they go outside those parameters or step beyond the safety zone. Is that
what you are saying?
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MR. BRADLEY:
Yes. Our laws put duties and responsibilities on all people to act reasonably.
Anyone who acts outside the bounds of reasonableness is considered to be
negligent. The assumption of the risk doctrine says if you know it is dangerous
and you step into a danger zone, you have assumed the risk.

In Mr. Norman's video with appropriate crowd control, people could not step
into the zone of danger. Unfortunately, there was poor crowd control in the
California race. We do not know what the promoters did or did not do. A judge
and jury should hear that before deciding whether those injured and killed have
the right to bring a claim.

CHAIR WIENER:
Is the limited duty rule being used in many states?

MR. BRADLEY:
I am familiar with the cases Ms. Lundvall and Mr. Norman discussed regarding
baseball parks and stadiums where there is certain assumption of the risk. In
that particular case, the court found that people sitting in the zone of danger
have assumed part of the risk if they cannot do anything about that risk.
However, if the owners of that stadium know fast balls or released bats are
going into a particular area, there is foreseeability. Foreseeability is an important
element     of    negligence    cases.     Under     those    circumstances,      the
owner/promoter/organizers must take reasonable steps to protect spectators.
They are not an insurer of the people's safety, but the law requires them to take
reasonable steps to protect the public.

Off-road racing presents the same circumstance. I hope off-road racing can stay
in Nevada. It is a good sport and has a lot of opportunity. It is also associated
with a lot of danger. By applying a reasonable standard to the conduct of the
promoters, organizers and the spectators, we balance the interests of protecting
the safety of the public and promoting reasonably safe activities in our State.

SENATOR COPENING:
If safety measures were in place as determined by some governing body for the
off-road racing sport, would you feel differently about this bill? Would you want
to apply the limited duty rule to promoters, organizers or private property
owners who hold the events on their property?
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MR. BRADLEY:
If permanent facilities are built on private land and the organizers take
reasonable steps to be candid, I am not sure I am comfortable with the
government saying what is and is not safe. I would like people involved in the
sport. The NASCAR course in Las Vegas is a good example. People used to
handling crowd control, recognizing curiosity of spectators and recognizing the
danger of the sport came together and designed a reasonably safe facility. The
NASCAR course in southern Nevada is a safe course. In the corners, crashes
can occur and debris can fly into the stands. In those circumstances, our law
recognizes what is reasonable and what is not.

SENATOR COPENING:
A governing body would ensure we feel comfortable that safety measures are
put in place. Experts should be the ones who design it. At off-road races,
someone should walk the course to make sure safety measures are in place.
I understand they are not there right now. I published an off-road racing
magazine in the early 1990s. I have been to many off-road races. Safety
measures were not in place then, but they need to be.

The bill does not include safety measures. It needs a companion bill. That is
why I am asking you if you would be comfortable giving off-road races
immunity if safety measures were in place. Baseball fields put up netting, and
hockey fields put up the plexiglass, yet spectators know there is a certain
amount of risk involved in attending the event. The same would hold true for
off-road racing if those safety measures were in place.

MR. BRADLEY:
The problem is tying in a bill. You would want to use the words "appropriate
safety measures." Who decides what is appropriate?

SENATOR COPENING:
There are many examples of bodies that decide what is appropriate and oversee
sporting events. We can arrive at what is appropriate. We need to assemble the
right people to arrive at that. You cannot say we will never agree on what is
appropriate because otherwise we would not have many of the sporting events
we have.
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MR. BRADLEY:
I agree with you that we could determine what is appropriate. It will be on a
case-by-case basis. I am not sure about using the words "appropriate safety
devices" in a bill as defined by an organization. I am not sure if the BLM or
governmental agencies have that kind of oversight on these races. My
experience is that a government agency charges a lot of money for the permit
and then backs away from everything. They require the promoters and
organizers to sign a clause saying if people get hurt, they are responsible for the
exposure.

Defining "appropriate" in a bill does not cover each circumstance. If you are
specific—e.g., crowd-control barriers shall be established 100 yards throughout
the course—perhaps there would be something to define. That is difficult to do.

SENATOR COPENING:
That is what I am trying to say. A group of people should meet and decide what
safety measures should be taken. This has been done for other sports. Off-road
racing needs regulations to satisfy the experts, including governing bodies. We
can arrive at what is appropriate.

MR. BRADLEY:
There were no legislative attempts to define "appropriate" for ballparks. We
have represented people with injuries in baseball stadiums, and you speak to the
experts on a case-by-case basis because one baseball field may be a
significantly different design than another. I have never seen those specific
appropriate rules applied to any sport. I am not sure we can do that for off-road
racing, but I am happy to try.

CHAIR WIENER:
Senator Gustavson, can Senator Copening work with the trial attorneys and
have those conversations? We will revisit this legislation when you are ready.
Those in favor and opposed to this can work together so everyone is included in
the conversation.

MS. LUNDVALL:
Other states have done what Senator Copening is proposing. For example,
Colorado protected its ski industry and identified specific parameters and
appropriate safety precautions to ensure participants and ski resort owners have
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some balance. The Normans will work to identify safety measures and bring
others to the table so that effort can be done.

SENATOR ROBERSON:
I concur with Senator Copening. Perhaps Mr. Norman has some insight
regarding whether there is a national organizing body that can work toward
developing certain rules.

Mr. Bradley, you said you hope off-road racing is successful in Nevada. My
concern is that a mere negligence standard would effectively shut the industry
down in Nevada. The use of the lawyer pays law is rare in Nevada. If there is a
mere negligence standard, it is an open invitation for unscrupulous lawyers to
file frivolous lawsuits. We do have to keep the gross negligence standard, which
is in this bill, but we have to look at what is reasonable as it relates to crowd
controls.

MR. BRADLEY:
I disagree with you regarding frivolous and nonmeritorious lawsuits and the
failure to use the lawyer pays law. Any lawyer defending a case in Nevada has
the same opportunity to bring that against a lawyer who has frivolously filed a
case. I have been a contingency-fee lawyer for 30 years. I have never made any
income from filing a frivolous case. I invest the funds necessary to investigate a
case to ensure it is a meritorious claim. Many fine defense lawyers, including
Ms. Lundvall, are ready to chew up a lawyer who files a frivolous case. Our
society is tired of the filing of frivolous cases by unscrupulous lawyers. We
cannot stop every one of them, but the Nevada Supreme Court and the State
Bar of Nevada have effectively addressed that. Laws have been passed to
address them. Our lawyer pays law is one of the strongest in the United States
in terms of making a lawyer personally responsible. If it is not used, that means
the defense lawyers are not using it when a frivolous case is filed. I am not
using it when a drunk driver slams into a car full of kids at a red light, and the
insurance company and their lawyers defend it for two years. Under both sets
of circumstances, the filing, maintaining or defending of a frivolous case is
wrong.

SENATOR ROBERSON:
I understand your perspective. But the fact is, meritless lawsuits will be filed if
there is a mere negligence standard, and it will have a chilling effect on this
sport.
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MR. BRADLEY:
Negligence means unreasonable conduct. It is not mere.

SENATOR ROBERSON:
As opposed to gross negligence.

MR. BRADLEY:
Gross negligence is reckless conduct. Gross negligence is defined as intentional
conduct in this bill. Could we prove that promoter in the video intended to kill
eight people? That is a state of mind. Under this bill, those eight victims would
have no remedy because of poor crowd control. If they had no insurance, the
taxpayers would pay for the negligence of the promoter.

SENATOR ROBERSON:
I hope we can agree there must be a more reasonable way to regulate this sport
without opening it to lawsuits. A simple negligence standard will open this sport
to multiple lawsuits. People will not come to this State to promote races if that
is the standard. I would like to work with you and Mr. Norman to establish
reasonable regulations and crowd control so everyone is satisfied safety
measures are in place.

MR. BRADLEY:
The standard is negligence. This bill does not lower the standard. No cases
against a race promoter have been filed in Nevada. The sport is doing well in
this State. It does not appear it is being driven out of business because of a
straight negligence standard.

CHAIR WIENER:
Senator Copening will continue the dialogue. Everyone is invited to participate.
I will close the hearing on S.B. 156 and open the hearing on S.B. 186.

SENATE BILL 186: Revises provisions relating to the recording of documents.
     (BDR 2-185)

LORA E. MYLES (County Recorders):
I am here on behalf of the county recorders. Senate Bill 186 is a simple fix to a
growing problem caused by an increase in foreclosures and creditor judgments.
People obtain judgments and do not tie them to real property or mobile homes.
As a result, when the mobile home or real property is foreclosed upon or sold,
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those judgments are not satisfied because they are not tied to the property.
They are tied to a person's name. Regarding section 1 of the bill, we are asking
if a judgment is filed with a county recorder's office, information on the real
property or mobile home be included in a cover sheet with a copy of the
judgment from the court. This makes it clear the property is subject to a lien.

The other issue is addressed in sections 3 and 4 of the bill regarding probates,
guardianships and lien holders. The statutes do not require letters of probate to
be filed. A lien holder on a property has no notice a probate is occurring. For
example, a probate may be in the First Judicial District and the property is held
in the Fourth Judicial District.

Letters of guardianship must be filed. However, the statute does not require
that they be filed in every county where real property is located or that
information concerning the property be tied to the letters of guardianship. As a
result, lien holders are not aware of the guardianship. If a property is foreclosed
upon and the guardian tries to find the property, he discovers the property is
already foreclosed upon and the estate or ward loses that property. If a lien is
filed on a property or a probate or guardianship recorded, a simple fix would be
to require information about the property—including the assessor's parcel
number, location of the property and serial number of the mobile home—be
included to tie those documents to the property.

CHAIR WIENER:
In section 1, subsection 4, paragraph (d), page 3, lines 42 to 43, the bill says,
"… based on the personal knowledge of the affiant, and not upon information
and belief." Please explain the distinction between "personal information" and
"information and belief."

MS. MYLES:
If the judgment creditors are going to file liens against property, they must
know the person they are suing actually owns the property. For example, we
had a case where the judgment creditor sued Junior, but filed the lien against
Senior's property. The judgment creditor did not check to ensure the social
security number Junior was using was his personal social security number and
not Senior's. The judgment creditor did not check to ensure the property was
owned by Junior and not Senior. As a result, when Senior was placed under a
guardianship, the guardian found a lien against the property that was supposed
to have been filed against Junior's property. The judgment creditor refused to
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remove the lien. We are asking the judgment creditor to say he has verified the
information and knows it to be true.

CHAIR WIENER:
You are referring to actual knowledge.

MS. MYLES:
Yes.

CHAIR WIENER:
My thought is that it would say on the "actual knowledge of the affiant and not
upon false information and belief."

MS. MYLES:
The language contained in section 1, subsection 4, paragraph (d) is standard
throughout NRS in many provisions. It is also standard in any oath taken.

ALAN H. GLOVER (Former Senator; Carson City Clerk/Recorder):
I am an ex officio Public Administrator for Carson City. Regarding section 3 of
the bill, as Public Administrator, I was asked to be the administrator of a
woman's estate who was a resident of Carson City, but her only asset was a lot
and mobile home in Lyon County. There were no other assets. We put the
property on the market. In the meantime, the mortgage company foreclosed on
the property. I did not receive notice. The mortgage company sent the notice to
the correct people but did not know we existed. If this was recorded in the
county of the real property location, we would be notified action is being taken.
In this case, the property would have gone into foreclosure anyway. If we had
known, we would have tried to work with the mortgage company to keep it on
the market longer.

From the county recorder's standpoint, the bill cleans up the language regarding
how liens are filed, and it will work well for recorders and administrators of
estates.

ROCKY FINSETH (Nevada Land Title Association):
We support S.B. 186.
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SENATOR MCGINNESS:
I put this bill in on Ms. Myles' behalf because she needed the time to study this
issue.

CHAIR WIENER:
I will close the hearing on S.B. 186 and open the hearing on S.B. 194.

SENATE BILL 194: Urges the Nevada Supreme Court to amend the Nevada
     Rules of Civil Procedure to require certain disclosures in class action
     lawsuits. (BDR S-563)

SENATOR JOSEPH (JOE) P. HARDY (Clark County Senatorial District No. 12):
I discovered people who are de facto opted into class action suits sometimes do
not understand the ramifications involved. If they try to sell their condominiums
or refinance their homes, they discover they are in class action suits and are
precluded from processing the financial future they thought they had.

The Legislative and Judicial Branches of government are separate and distinct.
But we, as the Legislature, can urge the Judicial Branch. You will see the word
"urge" in the bill. We try to give our input into judicial procedure. You have a
handout regarding notice requirements in class actions (Exhibit G).

The federal requirements in class action suits were changed in 2009 to become
more transparent. Exhibit G, page 1, lists seven requirements included in the
Federal Rules of Civil Procedure. Nevada's rules require three of those items:
Nos. 4, 5 and 7. The other items involve transparency people want when they
find themselves involved in a class action suit.

In a class action suit, people are notified they are in a class action suit and
informed they can opt out. One of the challenges is that people are not sure
why to opt out. Section 1, subsection 5 of the bill requires additional disclosure
setting forth the possible consequences a member of the class may face if the
person does not opt out.

CHAIR WIENER:
Do you intend this Committee would send your urging to the Nevada Supreme
Court because you are asking the Nevada Rules of Civil Procedure be amended
to require this disclosure? Are you asking us to determine which of the
remaining four items in Exhibit G, page 1, should be included?
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SENATOR HARDY:
I could not have said it better. The people of Nevada should have what the
federal rules require.

CHAIR WIENER:
To clarify, rather than asking us to determine which of the remaining four to
include, is it your intention to urge the Nevada Supreme Court to amend the
Nevada Rules of Civil Procedure to mirror the seven points in the 2009 Federal
Rules of Civil Procedure notice requirements?

SENATOR HARDY:
Yes.

SENATOR COPENING:
What have been the negative consequences of class action lawsuits?

SENATOR HARDY:
In construction defects cases, owners of condominiums discovered they were
named in a class action suit. When they attempted to refinance or sell their
condominium, they were mired in a lawsuit which precluded the lending
institutions from participating in the refinance or sale. In Las Vegas and Nevada,
we are familiar with class action suits and the challenges associated with them.
I would prefer not to see Nevada in those kinds of stories in the news media.

SENATOR COPENING:
For full disclosure, I work for Pulte Homes and Del Webb as a lifestyle director,
not dealing with construction defect litigation. I worked for them as director of
public affairs between 2002 and 2006. I was involved in numerous construction
defect situations, and those very things happened.

Some situations have served homeowners in a good way. Disclosure needs to
happen when class actions are filed. In all fairness, there are two sides to the
story, and there can be two different outcomes.

I would like to see something similar to initiative petitions. A ballot sets forth a
proposal, and pros and cons are given. Voters decide what they want to do
given the pros and cons. That is a fair way to present a situation. It would be
different for each kind of class action. You could have general pros and cons
when it comes to the different kinds of class actions.
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SENATOR HARDY:
That is where the broadened language of the federal requirements come in.
Number 3 on Exhibit G, page 1, includes claims, issues and defenses. Those
would become more transparent. I do not recommend eliminating class action
lawsuits, but I want people to have access to information so they can make
better decisions.

MR. BRADLEY:
We oppose S.B. 194. I am concerned about the federal rules because they have
been interpreted by people who represent class actions in a way that scares
people out of them by discussing possible consequences rather than probable
consequences. It reminds me of when people say, "what if this happens."
"What if" is not a reason upon which to base a decision of whether to join a
class. It is better to inform people of what is more likely to occur on both sides
of the case. The urging language is meant to dissuade people from participating
in classes. The pros and cons should be explained so people understand it
thoroughly.

The Nevada Supreme Court has abolished class actions in construction defect
cases. That resulted in pros and cons. If there is a development with
20 defective homes, each claim must be filed individually and a deductible must
be paid on each house. That has harmed small subcontractors who make less
on their part of a construction than the deductibles on their insurance policies to
trigger coverage.

In other class actions, information is good, but it must be reliable information on
both sides of the equation, not information meant to scare people away from
participating. That is not what the federal rules say. The opportunity to opt out
is already in the rules.

CHAIR WIENER:
Based on what Senator Copening and Mr. Bradley have said, do you want to
look at the pros and cons of participating?

SENATOR HARDY:
I appreciate the wording regarding reliable information. I support transparency.
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CHAIR WIENER:
Will you work with the Nevada Justice Association to develop what makes
sense for the balance?

SENATOR HARDY:
Yes.

MR. BRADLEY:
I will involve other lawyers who do class actions. Here is my concern. If we do
not mimic the federal rules, we are an individual state. I was appointed to the
Nevada Supreme Court committee tasked with bringing the Nevada Rules of
Civil Procedure into consistency with the Federal Rules of Civil Procedure.
Former Chief Justice William A. Maupin headed the committee. It was
challenging because Justice Maupin thought if we have consistent rules from
state to federal, there is a broader body of law to help interpret the provisions of
either the Nevada Rules of Civil Procedure or the Federal Rules of Civil
Procedure. The problem with going out on our own is that we would become an
individual state in creating a new law in the Nevada Rules of Civil Procedure
inconsistent with the federal rules. This would make it difficult in the absence of
an intermediate appellate court. I recognize the desire to try to amend the rules.
I cannot agree to amend it to the federal rules because that language goes too
far and is too broad. I have concerns about trying to do our own Nevada rules
when sophisticated civil procedure lawyers have designed the rules with more
knowledge than we have.

CHAIR WIENER:
Can we not work under the umbrella of one that is already federal, in looking at
the four remaining items?

MR. BRADLEY:
I hope we can. We would have to involve attorneys who work in class actions
and see if that is workable.

CHAIR WIENER:
We will see where the conversation goes and get an update to see what our
choices are.

I will close the hearing on S.B. 194 and open the hearing for public comment.
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There being nothing further to come before the Committee, we are adjourned at
9:38 a.m.


                                               RESPECTFULLY SUBMITTED:




                                               Kathleen Swain,
                                               Committee Secretary


APPROVED BY:




Senator Valerie Wiener, Chair


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